Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                     Entered 10/08/21 18:25:52              Page 1 of 20




 MERCER (US) INC.
 John Dempsey
 1166 Avenue of the Americas
 New York, NY
 Telephone: 212.345.7000
 Facsimile: 212.345.7414
 Email: john.dempsey@mercer.com

 Compensation Consultant to the Debtor


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                   §
     In re:                                                        § Chapter 11
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                   §
                                      Debtor.                      §

          SUMMARY OF THIRD AND FINAL APPLICATION FOR COMPENSATION
              AND REIMBURSEMENT OF EXPENSES OF MERCER (US) INC.,
             AS COMPENSATION CONSULTANT TO THE DEBTOR FOR THE
             PERIOD FROM NOVEMBER 15, 2019 THROUGH AUGUST 10, 2021


     Name of Applicant:                                      Mercer (US) Inc.
     Authorized to Provide Professional
                                                             The Debtor and Debtor in Possession
     Services to:
                                                             November 15, 2019 by Order entered January
     Date of Retention:
                                                             22, 2020 [Docket No. 381]
     Period for Which Compensation and
                                                             November 15, 2019 – August 10, 2021
     Reimbursement is Sought:
     Amount of Fees Sought as Actual,
                                                             $202,317.65
     Reasonable and Necessary:
     Amount of Expense Reimbursement Sought
                                                             $2,449.37
     as Actual, Reasonable and Necessary:
     Blended Hourly Rate in this Application for
                                                             $578.05
     All Professionals:




 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                Entered 10/08/21 18:25:52      Page 2 of 20




  Name of Applicant:                                   Mercer (US) Inc.
  Compensation Already Paid Pursuant to a
  Monthly Compensation Order But Not Yet               $0.00
  Allowed:
  Expenses Already Paid Pursuant to a Monthly
                                                       $0.00
  Compensation Order But Not Yet Allowed:
  Number of Professionals Included in this
                                                       5
  Application:
  Number of Professionals Included in this
                                                       N/A
  Application Not Included on the Staffing Plan:
  Number of Professionals Billing Fewer than
                                                       7
  15 Hours:


 This is a:       monthly            _ interim                    X_ final application.


                                PRIOR APPLICATIONS FILED

                     Period         Requested              Requested       Approved       Approved
     Date Filed
                    Covered           Fees                 Expenses          Fees         Expenses
                   11/15/19 –
    04/28/20                      $113,804.64              $2,151.69      $113,804.64     $2,151.69
                   02/29/20
                   01/01/20 –
    08/19/20                       $54,029.98              $ 297.68       $54,029.98      $ 297.68
                   05/31/20




                                                   2
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                     Entered 10/08/21 18:25:52              Page 3 of 20




 MERCER (US) INC.
 John Dempsey
 1166 Avenue of the Americas
 New York, NY
 Telephone: 212.345.7000
 Facsimile: 212.345.7414
 Email: john.dempsey@mercer.com

 Compensation Consultant to the Debtor


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                   §
     In re:                                                        § Chapter 11
                                                                   §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,2                           § Case No. 19-34054-sgj11
                                                                   §
                                      Debtor.                      §

                   THIRD AND FINAL APPLICATION FOR COMPENSATION
                 AND REIMBURSEMENT OF EXPENSES OF MERCER (US) INC.,
                AS COMPENSATION CONSULTANT FOR THE DEBTOR FOR THE
                PERIOD FROM NOVEMBER 15, 2019 THROUGH AUGUST 10, 2021

 TO THE HONORABLE STACEY G. C. JERNIGAN,
 UNITED STATES BANKRUPTCY JUDGE:

              Pursuant to sections 330 and 331 of Title 11 of the United States Code (the “Bankruptcy

 Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the “Bankruptcy

 Rules”), Rule 2016-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for

 the Northern District of Texas (collectively, the “LBR”), and the Order Establishing Procedures

 for Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 141]

 (the “Administrative Order”), Mercer (US) Inc. (“Mercer” or the “Firm”), compensation

 consultant to the above-captioned debtor and debtor in possession (the “Debtor”), hereby submits


 2
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

                                                          3
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21           Entered 10/08/21 18:25:52       Page 4 of 20




 its Third and Final Application for Compensation and for Reimbursement of Expenses of Mercer

 (US) Inc. as Compensation Consultant for the Debtor for the Period from November 15, 2019

 through August 10, 2021 (the “Application”).

        By this Application, Mercer seeks (i) final allowance of its fees and expenses for the

 period November 15, 2019 through August 10, 2021 (the “Final Period”) totaling $204,767.02

 comprised of (a) compensation in the amount of $202,317.65 for necessary professional services

 rendered and (b) actual and necessary expenses in the amount of $2,449.37, and (ii) payment of

 the unpaid amount of such fees and expenses. In support of this Application, Mercer respectfully

 represents as follows:

                             I.     JURISDICTION AND VENUE

        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this

 district under 28 U.S.C. §§ 1408 and 1409.

                                    II.       BACKGROUND

        2.      On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

 District of Delaware (the “Delaware Court”).

        3.      On October 29, 2019, the Official Committee of Unsecured Creditors (the

 “Committee”) was appointed by the U.S. Trustee in the Delaware Court.

        4.      On November 14, 2019, the Delaware Court entered the Administrative Order

 authorizing certain professionals and members of any official committee (collectively referred to

 hereafter as “Professionals”) to submit monthly applications for interim compensation and


                                                 4
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21             Entered 10/08/21 18:25:52      Page 5 of 20




 reimbursement of expenses pursuant to the procedures specified therein. The Administrative

 Order provides, among other things, that (i) a Professional may submit monthly fee applications

 and (ii) if no objections are made within twenty-one (21) days after service of the monthly fee

 application, the Debtor is authorized to pay the Professional eighty percent (80%) of its

 requested fees and one hundred percent (100%) of its requested expenses. The Administrative

 Order further provides that, beginning with the period ending December 31, 2019, and at three-

 month intervals thereafter—or such other intervals convenient to the Court—each Professional

 may file an interim application with seeking Court-approval and allowance of the amounts

 sought in the Professional’s monthly fee applications for that period. The Administrative Order

 further provides that all fees and expenses paid during the pendency of the Debtor’s case are on

 an interim basis until final allowance by the Court.

        5.      On December 4, 2019, the Delaware Court entered an order [Docket No. 186]

 transferring venue of the Debtor’s bankruptcy case to this Court.

        6.      On January 22, 2020, this Court entered its Order Pursuant to Sections 327(a)

 and 328(a) of the Bankruptcy Code Authorizing the Employment of Mercer (US) Inc. as

 Compensation Consultant to the Debtor [Docket No. 381] (the “Retention Order”) authorizing

 the retention of Mercer as compensation consultant to the Debtor effective as of November 15,

 2019. The Retention Order authorized Mercer to be compensated on an hourly basis and to be

 reimbursed for actual and necessary out-of-pocket expenses.

                7.      On April 28, 2020, Mercer filed its First Interim Application for

 Compensation and Reimbursement of Expenses of Mercer (US) Inc., as Compensation



                                                  5
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21               Entered 10/08/21 18:25:52   Page 6 of 20




 Consultant to the Debtor for the Period from November 15, 2019 through February 29, 2020

 [Docket No. 608] (the “First Interim Application”).

                8.      On May 26, 2020, the Court entered an order granting the First Interim

 Application [Docket No. 664].

                9.      On August 19, 2020, Mercer filed its Second Interim Application for

 Compensation and Reimbursement of Expenses of Mercer (US) Inc., as Compensation

 Consultant to the Debtor for the Period from March 1, 2020 through May 31, 2020 [Docket No.

 972] (the “Second Interim Application”).

                10.     On September 13, 2020, the Court entered an order granting the Second

 Interim Application [Docket No. 1059].

                                  III.   RELIEF REQUESTED

        11.     By this Application, Mercer requests that the Court approve payment of one-

 hundred percent (100%) of the fees and expenses incurred by Mercer during the Final Period.

 A.     Compensation Paid and Its Source

        12.     All services for which Mercer requests compensation during the Final Period

 were performed for or on behalf of the Debtor. Mercer has received no payment and no

 promises for payment from any source other than the Debtor for services rendered or to be

 rendered in any capacity whatsoever in connection with the matters covered by this Application.

 There is no agreement or understanding between Mercer and any other person other than the

 partners of Mercer for the sharing of compensation to be received for services rendered in this

 case. Mercer has not received a retainer in this case.

 B.     Summary of Services Provided During the
        Third Interim Period of June 1, 2020 through August 10, 2021
                                                  6
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21           Entered 10/08/21 18:25:52       Page 7 of 20




        13.     The names of the timekeepers of Mercer who rendered professional services in

 this case during the period of June 1, 2020 through August 10, 2021 (the “Third Interim Period”)

 are set forth in the attached Exhibit A. Mercer, by and through such persons, has advised the

 Debtor on a regular basis with respect to the matters upon which it was employed, and the

 professionals and paraprofessionals of Mercer performed all necessary professional services

 which are described and narrated in detail in the attached Exhibit A.

        14.     During the Third Interim Period, Mercer performed the following tasks:

                a.     Presented market information on Chief Executive Officer and Chief
                       Restructuring officer compensation programs including salaries, incentive
                       opportunities and success fees;

                b.     Consult with Board of Directors regarding need to retain a Chief
                       Executive Officer (“CEO”) as a consultant and the elements of
                       compensation typically utilized to engage independent consultants to serve
                       as interim CEOs or Chief Restructuring Officers (“CROs”);

                c.     Presented market information on interim CEO and CRO compensation
                       programs; and

                d.     Discuss findings with Board of Directors.

 C.     Actual and Necessary Expenses

        15.     Mercer did not incur any expenses during the Third Interim Period.

 D.     Valuation of Services During the Third Interim Period

        16.     Professionals and paraprofessionals of Mercer expended a total of 67.00 hours in

 connection with their representation of the Debtor during the Third Interim Period, allocable as

 follows:




                                                 7
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                      Entered 10/08/21 18:25:52   Page 8 of 20




Name of Professional              Position of the Applicant             Hourly     Total        Total
    Individual                                                          Billing    Hours     Compensation
                                                                         Rate3     Billed
                                                                      (Including
                                                                       Changes)
Kevin Beglen                   Senior Associate                       $ 528.96      10.75     $ 5,686.32
John B Dempsey                 Partner                                $1,037.04     11.50     $11,925.96
Hanlu Jin                      Associate                              $ 377.00       2.50     $ 942.50
Tyler Kramer                   Associate                              $ 377.00      40.25     $15,174.25
Lindsay Siegel                 Associate                              $ 377.00       2.00     $ 754.00
Grand Total                                                                         67.00     $34,483.03

                                     Grand Total:             $34,483.03
                                     Total Hours:                  67.00
                                     Blended Rate:               $514.67

            17.     The nature of work performed by Mercer’s professionals and paraprofessionals is

 fully set forth in Exhibit A attached hereto. The hourly rates charged by Mercer in connection

 with its services provided to the Debtor are Mercer’s normal hourly rates for work of this

 character. The reasonable value of the services rendered by Mercer for the Debtor during the

 Third Interim Period was $34,483.03.

 E.         Requested Relief

                    18.      By this Final Application, Mercer requests that the Court approve payment

 of one-hundred percent (100%) of the fees and expenses incurred by Mercer during the Final Fee

 Period of November 15, 2019 through August 10, 2021.

            19.     At all relevant times, Mercer has not represented, and does not represent, any

 party having an interest adverse to the Debtor or its estate.

            20.     All services for which Mercer requests compensation were performed for or on

 behalf of the Debtor.




 3
     Rates have been rounded down to the nearest hundredth.
                                                          8
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21            Entered 10/08/21 18:25:52        Page 9 of 20




         21.     Mercer has received no payment and no promises for payment from any source

 other than from the Debtor for services rendered or to be rendered in any capacity whatsoever in

 connection with the matters covered by this Application. There is no agreement or

 understanding between Mercer and any other person—other than amongst the partners of Mercer

 –for the sharing of compensation to be received for services rendered in this case.

         22.     The professional services and related expenses for which Mercer requests final

 allowance were rendered and incurred in connection with this case in the discharge of Mercer’s

 professional responsibilities as compensation consultant for the Debtor in this chapter 11 case.

 Mercer’s services have been necessary and beneficial to the Debtor, its estate, creditors, and

 other parties-in-interest.

         23.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

 it is respectfully submitted that the amounts requested by Mercer are fair and reasonable given

 (a) the complexity of the case, (b) the time expended, (c) the nature and extent of the services

 rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

 case under the Bankruptcy Code.

         WHEREFORE, Mercer respectfully requests that the Court enter an order, substantially

 in the form attached hereto, (i) granting final allowance of Mercer’s fees and expenses for the

 period November 15, 2019 through August 10, 2021 totaling $204,767.02 comprised of (a)

 compensation in the amount of $202,317.65 for necessary professional services rendered and (b)

 actual and necessary expenses in the amount of $2,449.37; (ii) authorizing the Debtor to pay to

 Mercer the outstanding amount of such sums; and (iii) granting Mercer such other and further

 relief as may be just and proper.

                                                  9
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21   Entered 10/08/21 18:25:52   Page 10 of 20




  Dated: October 8, 2021               MERCER (US) INC.



                                       John B. Dempsey
                                       Partner




                                         10
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21          Entered 10/08/21 18:25:52   Page 11 of 20




  Submitted by:

   PACHULSKI STANG ZIEHL & JONES LLP


    /s/ Jeffrey N. Pomerantz
   PACHULSKI STANG ZIEHL & JONES LLP
   Jeffrey N. Pomerantz (CA Bar No.143717)
   (admitted pro hac vice)
   Ira D. Kharasch (CA Bar No. 109084)
   (admitted pro hac vice)
   Maxim B. Litvak (SBN: 24002482)
   Gregory V. Demo (NY Bar 5371992)
   (admitted pro hac vice)
   10100 Santa Monica Blvd., 13th Floor
   Los Angeles, CA 90067
   Telephone: (310) 277-6910
   Facsimile: (310) 201-0760
   E-mail:      jpomerantz@pszjlaw.com
                ikharasch@pszjlaw.com
                mlitvak@pszjlaw.com
                gdemo@pszjlaw.com

   -and-



   HAYWARD PLLC
   Melissa S. Hayward
   Texas Bar No. 24044908
   MHayward@HaywardFirm.com
   Zachary Z. Annable
   Texas Bar No. 24053075
   ZAnnable@HaywardFirm.com
   10501 N. Central Expy, Ste. 106
   Dallas, Texas 75231
   Tel: (972) 755-7100 / Fax: (972) 755-7110

   Counsel for the Debtor and Debtor-in-Possession




                                               11
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21   Entered 10/08/21 18:25:52   Page 12 of 20




                                   EXHIBIT A
    Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                                                         Entered 10/08/21 18:25:52                                   Page 13 of 20




                                                                                   Invoice
 155 North Wacker Drive, Suite 1500                                                                                                                                 120510067024
                                                                                                                                 Number
 Chicago, IL 60606
                                                                                                                                 Date                                 17-Aug-2021
 Telephone: (312) 917-9900                                                                                                       Client                                   HLND02

 Mr. Maxim Litvak
 Highland Capital Management, L.P.
 c/o Pachulski Stang Ziehl & Jones LLP
 150 California Street, 15th Floor
 San Francisco CA 94111


 Issued by E-mail: mlitvak@pszjlaw.com



  Preparation of update on CEO compensation benchmarking

                                                                                                                                                                        Fees

                                                                                           Sub Total                                            $                34,483.03



                                                                                           Total Amount Due                                     $                34,483.03




 Please retain this copy for your records                    Payable within 30 days from date of invoice.
 Please wire funds to:                                                                             or Remit with Check to:
 J.P. Morgan Chase, Chicago IL
 Mercer (US) Inc.                                                                                  PO Box 730182
 Acct. No.: 5810264                                                                                DALLAS TX
 FED WIRE ABA #: 021000021                                                                         75373-0182
 ACH ABA #: 071 000 013
 Swift Code: CHASUS33

 Compensation paid to Mercer, including compensation in the form of fees or commissions, may or may not be paid from benefit plan assets. To the extent this invoice identifies certain
 fees as potentially allocable to an employee benefit plan (whether or not covered by ERISA) or certain commissions as constituting assets of an ERISA-covered plan or other benefit
 plan, this should not be interpreted as our advice or recommendation that these balances are plan assets or can or should be paid from plan assets under governing law. The client, as a
 fiduciary of the plan, and not Mercer, has the responsibility for determining what constitutes an asset of the plan and whether these fees are reasonable expenses of administering the
 plan that may properly be charged (in whole or in part) to plan assets; and if so, what portion (if any) should be allocated to a particular plan or plans. Mercer recommends that the client
 make this determination with the assistance of legal counsel, as Mercer is not a law firm.




                                                                                                                                                                    Page 1            of         1
This invoice was prepared in accordance with previously agreed project service deliverables and fees. If you intend to question or dispute any of the invoice
details then you should do so within ten business days of your receipt of this invoice. After that time the invoice will be deemed to have been accepted by you.
                         Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                  Entered 10/08/21 18:25:52             Page 14 of 20
                                                                   Mercer (US), Inc.
                                                                   Time Entries May 18, 2021 – May 28, 2021

Employee            Date         Rate      Hours      Actual       Description
Beglen Kevin         18-May-21    528.96       1.25        661.2   Call with John Dempsey (0.25); review file (0.5); plan updates (0.5)
                                                                   Conversation with Hanlu Jin re update of CRO Data (0.25); working session with John Dempsey re edits to
Beglen   Kevin       19-May-21    528.96        1.5      793.44    the report (0.75); report updates (0.5)
Beglen   Kevin       20-May-21    528.96        1.5      793.44    Review compensation disclosures (0.75); update with John Dempsey (0.25)
Beglen   Kevin       24-May-21    528.96          1      528.96    Review of CRO database changes; updating of report
Beglen   Kevin       25-May-21    528.96        1.5      793.44    Review of CRO database changes; updating of report
                                                                   Review of CRO database changes (0.75); updating of report (0.75); review work to date with John
Beglen Kevin         26-May-21    528.96         2      1057.92    Dempsey & Tyler Kramer (0.5)
                                                                   Review of CRO database changes & update report (1); discuss report with John Dempsey and Tyler
Beglen Kevin         27-May-21    528.96        1.5      793.44    Kramer (0.5)
Beglen Kevin         28-May-21    528.96        0.5      264.48    Finalize report
                                                                   Call with John Dubel (0.5); review previous analysis; (0.5) Conversation with Kevin Beglen (0.25) Develop
Dempsey    John B    18-May-21   1037.04         2      2074.08    plan to update Analysis (0.75)
Dempsey    John B    19-May-21   1037.04         1      1037.04    Call with John Dubel (0.25); working session with Kevin Beglen re edits to the report (0.75)
Dempsey    John B    20-May-21   1037.04         1      1037.04    Follow up call with John Dubel (0.25); update with Kevin Beglen (0.25); revise report (0.5)
Dempsey    John B    21-May-21   1037.04         1      1037.04    Review existing database and plan updates to analysis
Dempsey    John B    24-May-21   1037.04         1      1037.04    Review status of updates (0.5); report outline (0.5)
Dempsey    John B    25-May-21   1037.04         1      1037.04    Review work to date
Dempsey    John B    26-May-21   1037.04         1      1037.04    Review work to date (0.5); Discuss with Kevin Beglen & Tyler Kramer(0.5)
                                                                   Review draft report (1); Discuss draft report and provide direction with Kevin Beglen and Tyler Kramer
Dempsey John B       27-May-21   1037.04        1.5      1555.56   (0.5)
Dempsey John B       28-May-21   1037.04          2      2074.08   Finalize report
Jin Hanlu            19-May-21      377           1          377   Download CRO compensation disclosures
Jin Hanlu            20-May-21      377         1.5        565.5   Download CRO compensation disclosures
Kramer Tyler         22-May-21      377        0.25        94.25   Update CRO Database
Kramer Tyler         23-May-21      377        2.25       848.25   Update CRO Database
Kramer Tyler         24-May-21      377        5.25      1979.25   Update CRO Database
Kramer Tyler         24-May-21      377         0.5        188.5   Update CRO Database
Kramer Tyler         25-May-21      377         8.5       3204.5   Update CRO Database
Kramer Tyler         25-May-21      377         1.5        565.5   Update CRO Database
Kramer Tyler         26-May-21      377        10.5       3958.5   Update CRO Database (10); review work with John Dempsey and Kevin Beglen (0.5)
Kramer Tyler         27-May-21      377         6.5       2450.5   Prepare exhibits for report (6); call with John Dempsey and Kevin Beglen re report (0.5)
Kramer Tyler         28-May-21      377           5         1885   Finalize report
Siegel Lindsay       23-May-21      377           2          754   Update CRO Database
Total                                                 $34,483.03
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                     Entered 10/08/21 18:25:52              Page 15 of 20




  MERCER (US) INC.
  John Dempsey
  1166 Avenue of the Americas
  New York, NY
  Telephone: 212.345.7000
  Facsimile: 212.345.7414
  Email: john.dempsey@mercer.com

  Compensation Consultant to the Debtor


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                    §
      In re:                                                        § Chapter 11
                                                                    §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           § Case No. 19-34054-sgj11
                                                                    §
                                       Debtor.                      §

                                 CERTIFICATION OF JOHN DEMPSEY

               John Dempsey, under penalty of perjury, certifies as follows:

               1.     I am a partner of Mercer (US) Inc. (“Mercer”). I make this certification in

  accordance with Appendix F of the Local Bankruptcy Rules of the United States Bankruptcy

  Court for the Northern District of Texas (“Appendix F”) regarding the contents of applications

  for compensation and expenses.

               2.     I have read the Third and Final Application for Compensation and for

  Reimbursement of Expenses of Mercer (US) Inc. as Compensation Consultant to the Debtor for

  the Period from November 15, 2019 through August 10, 2021 (the “Application”).




  1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21               Entered 10/08/21 18:25:52        Page 16 of 20




           3.       Pursuant to section I.G. of Appendix F, I hereby certify that, to the best of my

  knowledge, information, and belief, formed after reasonable inquiry, that (a) the compensation

  and expense reimbursement sought in the Application is in conformity with Appendix F, except

  as specifically noted in the Application, and (b) the compensation and expense reimbursement

  requested are billed at rates in accordance with practices no less favorable than those customarily

  employed by Mercer and generally accepted by Mercer’s clients.

           4.       I have reviewed the requirements of the Guidelines for Reviewing Applications

  for Compensation and Expense Reimbursement of Professionals effective January 1, 2001 (the

  “Guidelines”) and I believe that the Application complies with such Guidelines.

  Dated: October 8, 2021

                                                          John Dempsey




                                                      2
  DOCS_SF:105917.3 36027/002
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                    Entered 10/08/21 18:25:52   Page 17 of 20




                                                     EXHIBIT A

                            Invoice for the Period June 1, 2020 – August 10, 2021

                                         MERCER PROFESSIONALS

                                                                     Hourly
                                                                     Billing     Total
Name of Professional                                                                          Total
                                  Position of the Applicant           Rate       Hours
    Individual                                                                             Compensation
                                                                    (Including   Billed
                                                                    Changes)1
Beglen, Kevin                  Senior Associate                     $528.96       1.25        $661.20
Beglen, Kevin                  Senior Associate                     $528.96       1.50        $793.44
Beglen, Kevin                  Senior Associate                     $528.96       1.50        $793.44
Beglen, Kevin                  Senior Associate                     $528.96       1.00        $528.96
Beglen, Kevin                  Senior Associate                     $528.96       1.50        $793.44
Beglen, Kevin                  Senior Associate                     $528.96       2.00       $1057.92
Beglen, Kevin                  Senior Associate                     $528.96       1.50        $793.44
Beglen, Kevin                  Senior Associate                     $528.96       0.50        $264.48
Dempsey, John B                Partner                             $1,037.04      2.00       $2074.08
Dempsey, John B                Partner                             $1,037.04      1.00       $1037.04
Dempsey, John B                Partner                             $1,037.04      1.00       $1037.04
Dempsey, John B                Partner                             $1,037.04      1.00       $1037.04
Dempsey, John B                Partner                             $1,037.04      1.00       $1037.04
Dempsey, John B                Partner                             $1,037.04      1.00       $1037.04
Dempsey, John B                Partner                             $1,037.04      1.00       $1037.04
Dempsey, John B                Partner                             $1,037.04      1.50       $1555.56
Dempsey, John B                Partner                             $1,037.04      2.00       $2074.08
Jin, Hanlu                     Associate                               $377       1.00        $377.00
Jin, Hanlu                     Associate                               $377       1.50        $565.50
Kramer, Tyler                  Associate                               $377       0.25         $94.25
Kramer, Tyler                  Associate                               $377       2.25        $848.25
Kramer, Tyler                  Associate                               $377       5.25       $1979.25
Kramer, Tyler                  Associate                               $377       0.50        $188.50
Kramer, Tyler                  Associate                               $377       8.50       $3204.50
Kramer, Tyler                  Associate                               $377       1.50        $565.50
Kramer, Tyler                  Associate                               $377      10.50       $3958.50
Kramer, Tyler                  Associate                               $377       6.50       $2450.50
Kramer, Tyler                  Associate                               $377       5.00       $1885.00
Siegel, Lindsay                Associate                               $377       2.00        $754.00
Grand Total                                                                      67.00     $34,483.03




  1
      Rates have been rounded down to the nearest hundredth.



  DOCS_SF:105917.3 36027/002
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21   Entered 10/08/21 18:25:52   Page 18 of 20




                                   (Proposed Order)




  DOCS_SF:105917.3 36027/002
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21                      Entered 10/08/21 18:25:52              Page 19 of 20




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     §
      In re:                                                         § Chapter 11
                                                                     §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                     §
                                       Debtor.                       § Re: Docket No.

                ORDER GRANTING THIRD AND FINAL APPLICATION FOR
               COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
          MERCER (US) INC., AS COMPENSATION CONSULTANT TO THE DEBTOR
          FOR THE PERIOD FROM NOVEMBER 15, 2019 THROUGH AUGUST 10, 2021

                    Upon consideration of the final application (“Application”)2 of Mercer (US) Inc.

  (“Mercer”) for final allowance of compensation for professional services rendered in the

  above-captioned case during the period from November 15, 2019 through August 10, 2021

  (the “Compensation Period”), it is HEREBY ORDERED THAT:


  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
  2
   Capitalized terms used, but not otherwise defined herein, shall have the meanings ascribed to them in the
  Application.



  DOCS_SF:105917.3 36027/002
Case 19-34054-sgj11 Doc 2908 Filed 10/08/21               Entered 10/08/21 18:25:52        Page 20 of 20




           1.       Mercer is granted final allowance of compensation in the amount of $202,317.65

  for the Final Period.

           2.       Mercer is granted final allowance of reimbursement for expenses incurred in the

  amount of $2,449.37 for the Final Period.

           3.       The Debtor is authorized and directed to remit payment to Mercer of such allowed

  compensation and expense reimbursement amounts totaling $204,767.02, less any and all

  amounts previously paid on account of such fees and expenses.

           4.       This Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Order.

                                         ###END OF ORDER###




  DOCS_SF:105917.3 36027/002                          2
